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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                    )
 BI-LEVEL PAP, AND MECHANICAL                     )      Master Docket: Misc. No. 21-1230
 VENTILATOR PRODUCTS                              )
 LITIGATION,                                      )      MDL No. 3014
                                                  )
 This Document Relates to: All Actions            )



                                         JOINT NOTICE
        Pursuant to the Court’s Text Order of April 27, 2022, below please find a list of counsel

 speaking on behalf of the Plaintiffs and Defendants for the May 6, 2025 Status Conference.

Speaking on behalf of Plaintiffs:

Co-Lead Counsel:
Sandra Duggan (Levin, Sedran & Berman, LLP)
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Settlement Committee:
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Roberta Liebenberg (Fine, Kaplan & Black, RPC)
Arthur H. Stroyd, Jr. (Del Sole Cavanaugh Stroyd LLC)

Other Participants:
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Speaking on behalf of Philips RS North America LLC:
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Benjamin Bhamdeo (Morgan, Lewis & Bockius, LLP)
Jonathan C. Wilt (Morgan, Lewis & Bockius, LLP)

Speaking on behalf of Other Philips Defendants:
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Speaking on behalf of Polymer Technologies, Inc. and Polymer Molded Products, LLC:
Eric Scott Thompson (Marshall Dennehey, PC)

Speaking on behalf of SoClean, Inc. and DW Management Services, LLC:
Michelle R. Gillboe (Lewis Brisbois Bisgaard & Smith LLP)
Ashley Rodgers (Lewis Brisbois Bisgaard & Smith LLP)

Speaking as the Allocation Special Master for the Private Personal Injury Settlement:
Matthew L. Garretson


DATED: May 2, 2025                            Respectfully submitted,

                                              /s/ D. Aaron Rihn
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